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 9
                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
     TERRY FABRICANT, individually)                Case No.
12
     and on behalf of all others similarly
                                  )
13   situated,                    )                CLASS ACTION
14                                )
     Plaintiff,                   )                COMPLAINT FOR VIOLATIONS
15                                )                OF:
16          vs.                   )
                                  )                   1.      NEGLIGENT VIOLATIONS
17                                                            OF THE TELEPHONE
     MFS GLOBAL, INC. d/b/a       )                           CONSUMER PROTECTION
18   FLOWRICH CAPITAL; and DOES 1 )                           ACT [47 U.S.C. §227(b)]
     through 10, inclusive,       )                   2.      WILLFUL VIOLATIONS
19                                                            OF THE TELEPHONE
                                  )                           CONSUMER PROTECTION
20   Defendant.                   )                           ACT [47 U.S.C. §227(b)]
21                                )                   3.      NEGLIGENT VIOLATIONS
                                                              OF THE TELEPHONE
                                  )                           CONSUMER PROTECTION
22
                                  )                           ACT [47 U.S.C. §227(c)]
23                                )                   4.      WILLFUL VIOLATIONS
                                                              OF THE TELEPHONE
24
                                  )                           CONSUMER PROTECTION
                                  )                           ACT [47 U.S.C. §227(c)]
25                                )
                                  )                DEMAND FOR JURY TRIAL
26
                                  )
27                                )
28                                )


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 1         Plaintiff TERRY FABRICANT (“Plaintiff”), individually and on behalf of
 2   all others similarly situated, alleges the following upon information and belief
 3   based upon personal knowledge:
 4                              NATURE OF THE CASE
 5         1.     Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of Defendant MFS GLOBAL, INC.
 8   d/b/a FLOWRICH CAPITAL (“Defendant”), in negligently, knowingly, and/or
 9   willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the
10   Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
11   regulations, specifically the National Do-Not-Call provisions, thereby invading
12   Plaintiff’s privacy.
13                             JURISDICTION & VENUE
14         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15   a resident of California, seeks relief on behalf of a Class, which will result in at
16   least one class member belonging to a different state than that of Defendant,
17   resident of Nevada. Plaintiff also seeks up to $1,500.00 in damages for each call
18   in violation of the TCPA, which, when aggregated among a proposed class in the
19   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20   Therefore, both diversity jurisdiction and the damages threshold under the Class
21   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22         3.     Venue is proper in the United States District Court for the Central
23   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
24   business within the State of California and Plaintiff resides within the County of
25   Los Angeles.
26                                       PARTIES
27         4.     Plaintiff, TERRY FABRICANT (“Plaintiff”), is a natural person
28   residing in Winnetka, California and is a “person” as defined by 47 U.S.C. § 153


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 1   (39).
 2           5.    Defendant, MFS GLOBAL, INC. d/b/a FLOWRICH CAPITAL
 3   (“Defendant”), is loan provider, and is a “person” as defined by 47 U.S.C. § 153
 4   (39).
 5           6.    The above named Defendant, and its subsidiaries and agents, are
 6   collectively referred to as “Defendants.” The true names and capacities of the
 7   Defendants sued herein as DOE DEFENDANT 1 through 10, inclusive, are
 8   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 9   names. Each of the Defendants designated herein as a DOE is legally responsible
10   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
11   Complaint to reflect the true names and capacities of the DOE Defendants when
12   such identities become known.
13           7.    Plaintiff is informed and believes that at all relevant times, each and
14   every Defendant was acting as an agent and/or employee of each of the other
15   Defendant and was acting within the course and scope of said agency and/or
16   employment with the full knowledge and consent of each of the other Defendant.
17   Plaintiff is informed and believes that each of the acts and/or omissions complained
18   of herein was made known to, and ratified by, each of the other Defendant.
19                              FACTUAL ALLEGATIONS
20           8.    Beginning in or around March of 2017, Defendant contacted Plaintiff
21   on Plaintiff’s cellular telephone numbers ending in -1083 in an attempt to solicit
22   Plaintiff to purchase Defendant’s services.
23           9.    Defendant contacted or attempted to contact Plaintiff from telephone
24   number (702) 779- 0245, confirmed to belong to Defendant.
25           10.   Defendant used an “automatic telephone dialing system” as defined
26   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to solicit its services.
27           11.   Defendant’s calls constituted calls that were not for emergency
28   purposes as defined by 47 U.S.C. § 227(b)(1)(A).


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 1         12.    Defendant’s calls were placed to telephone number assigned to a
 2   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 3   pursuant to 47 U.S.C. § 227(b)(1).
 4         13.    Plaintiff is not a customer of Defendant’s services and has never
 5   provided any personal information, including his telephone number, to Defendant
 6   for any purpose whatsoever.
 7         14.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 8   express consent” to receive calls using an automatic telephone dialing system or an
 9   artificial or prerecorded voice on its cellular telephones pursuant to 47 U.S.C. §
10   227(b)(1)(A).
11         15.    Furthermore, Plaintiff’s cellular telephone number ending in -1083
12   has been on the National Do-Not-Call Registry well over thirty (30) days prior to
13   Defendant’s initial calls.
14         16.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
15   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
16         17.    Upon information and belief, and based on Plaintiff’s experiences of
17   being called by Defendant after requesting they stop calling, and at all relevant
18   times, Defendant failed to establish and implement reasonable practices and
19   procedures to effectively prevent telephone solicitations in violation of the
20   regulations prescribed under 47 U.S.C. § 227(c)(5).
21                                CLASS ALLEGATIONS
22         18.    Plaintiff brings this action individually and on behalf of all others
23   similarly situated, as a member the four proposed classes (hereafter, jointly, “The
24   Classes”). The class concerning the ATDS claim for no prior express consent
25   (hereafter “The ATDS Class”) is defined as follows:
26
                  All persons within the United States who received any
27                solicitation/telemarketing  telephone    calls   from
28                Defendant to said person’s cellular telephone made


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 1                 through the use of any automatic telephone dialing
                   system or an artificial or prerecorded voice and such
 2                 person had not previously consented to receiving such
 3                 calls within the four years prior to the filing of this
                   Complaint
 4
 5         19.     The class concerning the ATDS claim for revocation of consent, to the
 6   extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
 7   as follows:
 8
 9
                   All persons within the United States who received any
                   solicitation/telemarketing     telephone      calls    from
10                 Defendant to said person’s cellular telephone made
11                 through the use of any automatic telephone dialing
                   system or an artificial or prerecorded voice and such
12                 person had revoked any prior express consent to receive
13                 such calls prior to the calls within the four years prior to
                   the filing of this Complaint.
14
15
           20.     The class concerning the National Do-Not-Call violation (hereafter
16
     “The DNC Class”) is defined as follows:
17
18                 All persons within the United States registered on the
                   National Do-Not-Call Registry for at least 30 days, who
19                 had not granted Defendant prior express consent nor had
20                 a prior established business relationship, who received
                   more than one call made by or on behalf of Defendant
21
                   that promoted Defendant’s products or services, within
22                 any twelve-month period, within four years prior to the
23                 filing of the complaint.
           21.     The class concerning the National Do-Not-Call violation following
24
     revocation of consent and prior business relationship, to the extent they existed
25
     (hereafter “The DNC Revocation Class”) is defined as follows:
26
27                 All persons within the United States registered on the
28                 National Do-Not-Call Registry for at least 30 days, who


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 1                received more than one call made by or on behalf of
                  Defendant that promoted Defendant’s products or
 2                services, after having revoked consent and any prior
 3                established business relationship, within any twelve-
                  month period, within four years prior to the filing of the
 4
                  complaint.
 5
 6         22.    Plaintiff represents, and is a member of, The ATDS Class, consisting
 7   of all persons within the United States who received any solicitation telephone calls
 8   from Defendant to said person’s cellular telephone made through the use of any
 9   automatic telephone dialing system or an artificial or prerecorded voice and such
10   person had not previously not provided their cellular telephone number to
11   Defendant within the four years prior to the filing of this Complaint.
12         23.    Plaintiff represents, and is a member of, The ATDS Revocation Class,
13   consisting of all persons within the United States who received any
14   solicitation/telemarketing telephone calls from Defendant to said person’s cellular
15   telephone made through the use of any automatic telephone dialing system or an
16   artificial or prerecorded voice and such person had revoked any prior express
17   consent to receive such calls prior to the calls within the four years prior to the
18   filing of this Complaint.
19         24.    Plaintiff represents, and is a member of, The DNC Class, consisting
20   of all persons within the United States registered on the National Do-Not-Call
21   Registry for at least 30 days, who had not granted Defendant prior express consent
22   nor had a prior established business relationship, who received more than one call
23   made by or on behalf of Defendant that promoted Defendant’s products or services,
24   within any twelve-month period, within four years prior to the filing of the
25   complaint.
26         25.    Plaintiff represents, and is a member of, The DNC Revocation Class,
27   consisting of all persons within the United States registered on the National Do-
28   Not-Call Registry for at least 30 days, who received more than one call made by or


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 1   on behalf of Defendant that promoted Defendant’s products or services, after
 2   having revoked consent and any prior established business relationship, within any
 3   twelve-month period, within four years prior to the filing of the complaint.
 4         26.     Defendant, their employees and agents are excluded from The
 5   Classes. Plaintiff does not know the number of members in The Classes, but
 6   believes the Classes members number in the thousands, if not more. Thus, this
 7   matter should be certified as a Class Action to assist in the expeditious litigation of
 8   the matter.
 9         27.     The Classes are so numerous that the individual joinder of all of its
10   members is impractical. While the exact number and identities of The Classes
11   members are unknown to Plaintiff at this time and can only be ascertained through
12   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
13   The Classes includes thousands of members. Plaintiff alleges that The Classes
14   members may be ascertained by the records maintained by Defendant.
15         28.     Plaintiff and members of The ATDS Class and The ATDS Revocation
16   Class were harmed by the acts of Defendant in at least the following ways:
17   Defendant illegally contacted Plaintiff and ATDS Class members via their cellular
18   telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
19   members to incur certain charges or reduced telephone time for which Plaintiff and
20   ATDS Class and ATDS Revocation Class members had previously paid by having
21   to retrieve or administer messages left by Defendant during those illegal calls, and
22   invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
23   members.
24         29.     Common questions of fact and law exist as to all members of The
25   ATDS Class which predominate over any questions affecting only individual
26   members of The ATDS Class. These common legal and factual questions, which
27   do not vary between ATDS Class members, and which may be determined without
28   reference to the individual circumstances of any ATDS Class members, include,


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 1   but are not limited to, the following:
 2                a.     Whether, within the four years prior to the filing of this
 3                       Complaint, Defendant made any telemarketing/solicitation call
 4                       (other than a call made for emergency purposes or made with
 5                       the prior express consent of the called party) to a ATDS Class
 6                       member using any automatic telephone dialing system or any
 7                       artificial or prerecorded voice to any telephone number
 8                       assigned to a cellular telephone service;
 9                b.     Whether Plaintiff and the ATDS Class members were damaged
10                       thereby, and the extent of damages for such violation; and
11                c.     Whether Defendant and their agents should be enjoined from
12                       engaging in such conduct in the future.
13         30.    As a person that received numerous telemarketing/solicitation calls
14   from Defendant using an automatic telephone dialing system or an artificial or
15   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
16   claims that are typical of The ATDS Class.
17         31.    Common questions of fact and law exist as to all members of The
18   ATDS Revocation Class which predominate over any questions affecting only
19   individual members of The ATDS Revocation Class. These common legal and
20   factual questions, which do not vary between ATDS Revocation Class members,
21   and which may be determined without reference to the individual circumstances of
22   any ATDS Revocation Class members, include, but are not limited to, the
23   following:
24                a.     Whether, within the four years prior to the filing of this
25                       Complaint, Defendant made any telemarketing/solicitation call
26                       (other than a call made for emergency purposes or made with
27                       the prior express consent of the called party) to an ATDS
28                       Revocation Class member, who had revoked any prior express


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 1                       consent to be called using an ATDS, using any automatic
 2                       telephone dialing system or any artificial or prerecorded voice
 3                       to any telephone number assigned to a cellular telephone
 4                       service;
 5                b.     Whether Plaintiff and the ATDS Revocation Class members
 6                       were damaged thereby, and the extent of damages for such
 7                       violation; and
 8                c.     Whether Defendant and their agents should be enjoined from
 9                       engaging in such conduct in the future.
10         32.    As a person that received numerous telemarketing/solicitation calls
11   from Defendant using an automatic telephone dialing system or an artificial or
12   prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
13   is asserting claims that are typical of The ATDS Revocation Class.
14         33.    Plaintiff and members of The DNC Class and DNC Revocation Class
15   were harmed by the acts of Defendant in at least the following ways: Defendant
16   illegally contacted Plaintiff and DNC Class and DNC Revocation Class members
17   via their telephones for solicitation purposes, thereby invading the privacy of said
18   Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
19   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
20   and DNC Revocation Class members were damaged thereby.
21         34.    Common questions of fact and law exist as to all members of The
22   DNC Class which predominate over any questions affecting only individual
23   members of The DNC Class. These common legal and factual questions, which do
24   not vary between DNC Class members, and which may be determined without
25   reference to the individual circumstances of any DNC Class members, include, but
26   are not limited to, the following:
27                a.     Whether, within the four years prior to the filing of this
28                       Complaint, Defendant or its agents placed more than one


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 1                       solicitation call to the members of the DNC Class whose
 2                       telephone numbers were on the National Do-Not-Call Registry
 3                       and who had not granted prior express consent to Defendant and
 4                       did not have an established business relationship with
 5                       Defendant;
 6                b.     Whether Defendant obtained prior express written consent to
 7                       place solicitation calls to Plaintiff or the DNC Class members’
 8                       telephones;
 9                c.     Whether Plaintiff and the DNC Class member were damaged
10                       thereby, and the extent of damages for such violation; and
11                d.     Whether Defendant and their agents should be enjoined from
12                       engaging in such conduct in the future.
13          35.   As a person that received numerous solicitation calls from Defendant
14    within a 12-month period, who had not granted Defendant prior express consent
15    and did not have an established business relationship with Defendant, Plaintiff is
16    asserting claims that are typical of the DNC Class.
17          36.   Common questions of fact and law exist as to all members of The
18    DNC Class which predominate over any questions affecting only individual
19    members of The DNC Revocation Class.            These common legal and factual
20    questions, which do not vary between DNC Revocation Class members, and which
21    may be determined without reference to the individual circumstances of any DNC
22    Revocation Class members, include, but are not limited to, the following:
23                a.     Whether, within the four years prior to the filing of this
24                       Complaint, Defendant or its agents placed more than one
25                       solicitation call to the members of the DNC Class whose
26                       telephone numbers were on the National Do-Not-Call Registry
27                       and who had revoked any prior express consent and any
28                       established business relationship with Defendant;


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 1                 b.    Whether Plaintiff and the DNC Class member were damaged
 2                       thereby, and the extent of damages for such violation; and
 3                 c.    Whether Defendant and their agents should be enjoined from
 4                       engaging in such conduct in the future.
 5          37.    As a person that received numerous solicitation calls from Defendant
 6    within a 12-month period, who, to the extent one existed, had revoked any prior
 7    express consent and any established business relationship with Defendant, Plaintiff
 8    is asserting claims that are typical of the DNC Revocation Class.
 9          38.    Plaintiff will fairly and adequately protect the interests of the members
10    of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
11    class actions.
12          39.    A class action is superior to other available methods of fair and
13    efficient adjudication of this controversy, since individual litigation of the claims
14    of all Classes members is impracticable. Even if every Classes member could
15    afford individual litigation, the court system could not. It would be unduly
16    burdensome to the courts in which individual litigation of numerous issues would
17    proceed. Individualized litigation would also present the potential for varying,
18    inconsistent, or contradictory judgments and would magnify the delay and expense
19    to all parties and to the court system resulting from multiple trials of the same
20    complex factual issues. By contrast, the conduct of this action as a class action
21    presents fewer management difficulties, conserves the resources of the parties and
22    of the court system, and protects the rights of each Classes member.
23          40.    The prosecution of separate actions by individual Classes members
24    would create a risk of adjudications with respect to them that would, as a practical
25    matter, be dispositive of the interests of the other Classes members not parties to
26    such adjudications or that would substantially impair or impede the ability of such
27    non-party Class members to protect their interests.
28          41.    Defendant have acted or refused to act in respects generally applicable


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 1    to The Classes, thereby making appropriate final and injunctive relief with regard
 2    to the members of the Classes as a whole.
 3                              FIRST CAUSE OF ACTION
 4           Negligent Violations of the Telephone Consumer Protection Act
 5                                     47 U.S.C. §227(b).
 6                On Behalf of the ATDS Class and ATDS Revocation Class
 7          42.     Plaintiff repeats and incorporates by reference into this cause of action
 8    the allegations set forth above at Paragraphs 1-46.
 9          43.     The foregoing acts and omissions of Defendant constitute numerous
10    and multiple negligent violations of the TCPA, including but not limited to each
11    and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
12    47 U.S.C. § 227 (b)(1)(A).
13          44.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
14    Plaintiff and the Class Members are entitled an award of $500.00 in statutory
15    damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
16          45.     Plaintiff and the ATDS Class and ATDS Revocation Class members
17    are also entitled to and seek injunctive relief prohibiting such conduct in the future.
18                             SECOND CAUSE OF ACTION
19     Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                             Act
21                                     47 U.S.C. §227(b)
22            On Behalf of the ATDS Class and the ATDS Revocation Class
23          46.     Plaintiff repeats and incorporates by reference into this cause of action
24    the allegations set forth above at Paragraphs 1-46.
25          47.     The foregoing acts and omissions of Defendant constitute numerous
26    and multiple knowing and/or willful violations of the TCPA, including but not
27    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
28    and in particular 47 U.S.C. § 227 (b)(1)(A).


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 1          48.    As a result of Defendant’s knowing and/or willful violations of 47
 2    U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
 3    members are entitled an award of $1,500.00 in statutory damages, for each and
 4    every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 5          49.    Plaintiff and the Class members are also entitled to and seek injunctive
 6    relief prohibiting such conduct in the future.
 7                              THIRD CAUSE OF ACTION
 8           Negligent Violations of the Telephone Consumer Protection Act
 9                                    47 U.S.C. §227(c)
10             On Behalf of the DNC Class and the DNC Revocation Class
11          50.    Plaintiff repeats and incorporates by reference into this cause of action
12    the allegations set forth above at Paragraphs 1-46.
13          51.    The foregoing acts and omissions of Defendant constitute numerous
14    and multiple negligent violations of the TCPA, including but not limited to each
15    and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
16    47 U.S.C. § 227 (c)(5).
17          52.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
18    Plaintiff and the DNC Class and DNC Revocation Class Members are entitled an
19    award of $500.00 in statutory damages, for each and every violation, pursuant to
20    47 U.S.C. § 227(c)(5)(B).
21          53.    Plaintiff and the DNC Class and DNC Revocation Class members are
22    also entitled to and seek injunctive relief prohibiting such conduct in the future.
23                              FOURTH CAUSE OF ACTION
24     Knowing and/or Willful Violations of the Telephone Consumer Protection
25                                            Act
26                                  47 U.S.C. §227 et seq.
27                On Behalf of the DNC Class and DNC Revocation Class
28          54.    Plaintiff repeats and incorporates by reference into this cause of action


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 1    the allegations set forth above at Paragraphs 1-46.
 2          55.    The foregoing acts and omissions of Defendant constitute numerous
 3    and multiple knowing and/or willful violations of the TCPA, including but not
 4    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
 5    in particular 47 U.S.C. § 227 (c)(5).
 6          56.    As a result of Defendant’s knowing and/or willful violations of 47
 7    U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
 8    are entitled an award of $1,500.00 in statutory damages, for each and every
 9    violation, pursuant to 47 U.S.C. § 227(c)(5).
10          57.    Plaintiff and the DNC Class and DNC Revocation Class members are
11    also entitled to and seek injunctive relief prohibiting such conduct in the future.
12                                 PRAYER FOR RELIEF
13    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
14                              FIRST CAUSE OF ACTION
15           Negligent Violations of the Telephone Consumer Protection Act
16                                    47 U.S.C. §227(b)
17                • As a result of Defendant’s negligent violations of 47 U.S.C.
18                 §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
19                 Class members are entitled to and request $500 in statutory damages,
20                 for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
21                • Any and all other relief that the Court deems just and proper.
22                            SECOND CAUSE OF ACTION
23     Knowing and/or Willful Violations of the Telephone Consumer Protection
24                                            Act
25                                    47 U.S.C. §227(b)
26                • As a result of Defendant’s willful and/or knowing violations of 47
27                 U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
28                 Revocation Class members are entitled to and request treble damages,


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 1               as provided by statute, up to $1,500, for each and every violation,
 2               pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
 3              • Any and all other relief that the Court deems just and proper.
 4                           THIRD CAUSE OF ACTION
 5          Negligent Violations of the Telephone Consumer Protection Act
 6                                    47 U.S.C. §227(c)
 7              • As a result of Defendant’s negligent violations of 47 U.S.C.
 8               §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
 9               members are entitled to and request $500 in statutory damages, for
10               each and every violation, pursuant to 47 U.S.C. 227(c)(5).
11              • Any and all other relief that the Court deems just and proper.
12                          FOURTH CAUSE OF ACTION
13     Knowing and/or Willful Violations of the Telephone Consumer Protection
14                                          Act
15                                    47 U.S.C. §227(c)
16              • As a result of Defendant’s willful and/or knowing violations of 47
17               U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation
18               Class members are entitled to and request treble damages, as provided
19               by statute, up to $1,500, for each and every violation, pursuant to 47
20               U.S.C. §227(c)(5).
21              • Any and all other relief that the Court deems just and proper.
22    ///
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 1                                     JURY DEMAND
 2          58.    Pursuant to the Seventh Amendment to the Constitution of the United
 3    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
            Respectfully Submitted this 23rd Day of May, 2018.
 5
                                 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6
 7                                      By: /s/ Todd M. Friedman
                                            Todd M. Friedman
 8
                                            Law Offices of Todd M. Friedman
 9                                          Attorney for Plaintiff
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